Case 2:24-cv-00946-JCB           Document 1       Filed 12/18/24      PageID.1      Page 1 of 14




Jonathan O. Hafen (6096)                                      If you do not respond to this
PARR BROWN GEE & LOVELESS, P.C.                               document within applicable time
101 South 200 East, Suite 700
                                                              limits, judgment could be
Salt Lake City, Utah 84111
                                                              entered against you as requested.
Telephone: (801) 532-7840
jhafen@parrbrown.com

R. Jeremy Adamson (12818)
Taylor J. Hadfield (17224)
KUNZLER BEAN & ADAMSON, PC
50 W. Broadway, 10th Floor
Salt Lake City, UT 84101
Telephone: (801) 994-4646
Fax: (801) 758-7436
jadamson@kba.law
thadfield@kba.law

Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


 SEEGAL MOSES, an individual,
                                                                     COMPLAINT
         Plaintiff,

 vs.                                                            Case No. 2:24-cv-00946

 IMONEY TOOLS, LLC, a Utah limited                               Judge ______________
 liability company and dba TRANONT,
                                                                          Tier 3
         Defendant.


       Plaintiff Seegal Moses (“Seegal” or “Plaintiff”) hereby complains against defendant

iMoney Tools, LLC dba Tranont (“Tranont” or “Defendant”) and allege as follows:

                                        INTRODUCTION

       1.       This action arises from Tranont’s flagrant disregard for the health of its customers
Case 2:24-cv-00946-JCB            Document 1        Filed 12/18/24     PageID.2       Page 2 of 14




after it was put on notice of the toxicity of its products.

        2.      Specifically, Tranont manufactured, advertised, and sold products that it knew or

should have known contained dangerous levels of toxins.

        3.      This action is not the first time Tranont has been confronted with the toxicity of its

product—just last year it settled a case in California arising from that toxicity and agreed that it

would maintain rigorous testing standards to ensure toxins were not present in its products.

        4.      Despite previous lawsuits and awareness of the dangers its product contained,

Tranont persisted in marketing and selling its products to individuals across the United States—

including Plaintiff.

        5.      Plaintiff was poisoned by extreme amounts of heavy metals in Tranont’s product.

                            PARTIES JURISDICTION AND VENUE

        6.      Plaintiff Seegal Moses is an individual residing in Vista, California.

        7.      Defendant iMoney Tools, LLC is a Utah limited liability company with its principal

place of business in Utah County, Utah.

        8.      Each member of Defendant iMoney Tools, LLC is a citizen of the state of Utah.

        9.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 because Plaintiff

seeks damages exceeding $75,000, exclusive of interest and costs, and because Plaintiff is diverse

from all members of Tranont.

        10.     This Court has personal jurisdiction over Tranont because Tranont is a limited

liability company registered in Utah with its principal place of business in Utah County, Utah.

        11.     Venue is proper in this District under 28 U.S.C. § 1391(b) because Tranont operates

in Utah County and is at home in this venue.



                                                   2
Case 2:24-cv-00946-JCB           Document 1       Filed 12/18/24      PageID.3      Page 3 of 14




                                  GENERAL ALLEGATIONS

        Tranont’s Multilevel Marketing Business Model.

        12.     Tranont is a multi-level marketing company that offers a variety of products and

services purportedly aimed at promoting health, wellness, and financial well-being.

        13.     Tranont’s product line includes dietary supplements, skincare products, essential

oils, and financial services.

        14.     Tranont markets its products as “safe and effective,” and it claims that, when those

products are used as directed, they will “help create a balanced, healthy environment in the belly.”

        Tranont Already Admitted Fault in a California Lawsuit and Agreed to Implement
        Rigorous Testing of its Product.

        15.     Tranont was sued in California in 2021 by a non-profit seeking relief under

California’s Health and Safety Code (the “California Lawsuit”).

        16.     Specifically, Plaintiff Environmental Research Center, Inc. (“ERC”), a non-profit

corporation, brought suit against iMoney Tools LLC, individually and dba Tranont for numerous

violations of provisions of the California Health and Safety Code section 25249.5 et seq.

        17.     ERC alleged that a number of products manufactured, distributed, or sold by

Tranont contained lead and/or mercury—chemicals listed under the California Health and Safety

Code as carcinogens and/or reproductive toxins.

        18.     Under California law, products sold to consumers with those chemicals require a

warning, and Tranont failed to meet this requirement.

        19.     The products subject to the lawsuit were: (1) Tranont Nourish GOS Prebiotic Meal

Replacement Coconut Cream (lead), (2) Tranont Nourish GOS Prebiotic Meal Replacement

Brown Batter (lead), (3) Tranont Boost (lead), (4) Tranont Glow Advanced Type 1 Collagen with


                                                 3
Case 2:24-cv-00946-JCB           Document 1         Filed 12/18/24   PageID.4     Page 4 of 14




Superfood Antioxidant Support Strawberry Banana (mercury), and (5) Tranont Glow Advance

Type 1 Collagen with Superfood Antioxidant Support Orange Cream (mercury) (the “Tranont

Products”).

       20.     To resolve the claims raised against it, in March 2023, Tranont entered into a

Stipulated Consent Judgment in the California State Superior Court (the “Settlement”).

       21.     Tranont is now permanently enjoined from manufacturing, distributing, or selling

in California, any Tranont Product that exposes a person to a “Daily Lead Exposure Level” of more

than 0.5 micrograms of lead per day and/or “Daily Mercury Exposure Level” of more than 0.3

micrograms of mercury per day unless it meets the warning requirements under Proposition 65.

       22.     Critically, Tranont is also required to “arrange for lead and mercury testing of

Tranont Products at least once a year for a minimum of five consecutive years by arranging for

testing of three (3) randomly selected samples of each of the Products, in the form intended for”

sale or distribution to a consumer in California.

   Plaintiff Experienced Significant Physical and Mental Health Issues after Ingesting
   Tranont Products as Directed.

       23.     Seegal experienced significant health impacts directly attributable to the

consumption and use of Tranont Products.

       37.     Seegal’s first purchase amounted to approximately $200, and she continued to

spend more than that amount each subsequent month on Tranont Products. Seegal drank one to

two cups of Mojo coffee daily and initially took collagen. Over time, she began using all the

Tranont Products as directed, consuming enzymes, probiotics, various vitamins, and collagen

throughout the day.

       38.     Starting in October 2022, Seegal began experiencing extreme fatigue, muscle


                                                    4
Case 2:24-cv-00946-JCB           Document 1       Filed 12/18/24      PageID.5       Page 5 of 14




aches, nausea, headaches, and fever-like flushing, which persisted daily.

       39.     By December 2022, she noticed a significant improvement in her condition when

she reduced her intake of Mojo coffee and other Tranont Products.

       40.     In March 2023, Seegal stopped using the Tranont Products entirely after a friend

suggested issues with the Tranont Products and learning that their health declines may be directly

correlated with the Tranont Products.

       41.     Seegal sought medical attention in late 2022 for her symptoms.

       42.     Seegal’s doctor diagnosed her with adrenal fatigue and recommended supplements

and rest. In January 2023, blood work confirmed diagnoses of adrenal fatigue and high cholesterol.

Her treatment involved discontinuing the use of Tranont products and monitoring her diet.

       43.     Upon information and belief, the Tranont Products caused Seegal’s health to

significantly decline due to heavy metals in the products.

       44.     The extreme fatigue and associated symptoms severely impacted Seegal’s ability

to work, resulting in lost wages over a period of three to four months. Despite having health

insurance, she experienced financial strain due to her inability to work.

       45.     Seegal’s life has changed dramatically; from being an active, busy individual, she

became someone who spends most of her time resting and sleeping. This condition led to ongoing

depression.

                                 FIRST CLAIM FOR RELIEF
       (Strict Liability for Design Defect, Violation of the Utah Product Liability Act,
                             Utah Code Ann. §§78B-6-701 to -707)

       46.     Plaintiff incorporates herein all preceding allegations set forth above.

       47.     Tranont, individually and acting through its employees, agents, and third parties



                                                 5
Case 2:24-cv-00946-JCB            Document 1        Filed 12/18/24       PageID.6      Page 6 of 14




and in concert with each other, is liable to Plaintiff for violations of the Utah Product Liability Act.

       48.     Tranont manufactured, placed into the stream of commerce, distributed, and

promoted its Tranont Products to consumers across the country.

       49.     An ordinary buyer of Tranont Products would not expect Tranont Products to

contain dangerous levels of heavy metals.

       50.     The suggested intake of Tranont Products presented a dangerous level of heavy

metal consumption to consumers of Tranont Products.

       51.     Tranont is under a continuous duty to keep abreast of scientific developments

touching upon the product and to notify its consumers of any potential dangers presented by using

Tranont Products.

       52.     Tranont is responsible for not only actual knowledge gained from research and

adverse reaction reports but also for constructive knowledge measured by third parties and other

available means of communications.

       53.     The deleterious side effects of Tranont Products experienced by Plaintiff, of which

Tranont was aware or should have been aware of through constructive knowledge, include but are

not limited to extreme fatigue, joint pain, headaches, muscle aches, fever, and hormonal

imbalances.

       54.     The adverse side effects experienced by Plaintiff after use of Tranont Products were

a direct result of the presence of heavy metals in Tranont Products.

       55.     The presence of heavy metals in the Tranont Products was a design defect.

       56.     The presence of heavy metals in the Tranont Products is unreasonably dangerous

and posed/poses a significant risk to consumers of Tranont Products.



                                                   6
Case 2:24-cv-00946-JCB            Document 1        Filed 12/18/24       PageID.7      Page 7 of 14




        57.    The Tranont Products were unreasonably dangerous because an ordinary user of

health supplements would expect the products to be free of harmful heavy metals, such as lead

and/or mercury.

        58.    The Tranont Products were additionally dangerous because of the deleterious side

effects possible after the consumption of heavy metals.

        59.    The design defect of heavy metals in the Tranont Products was present at the time

the product was sold to Plaintiff.

        60.    Plaintiff purchased Tranont Products from Tranont.

        61.    Plaintiff’s use of Tranont Products was the cause of injury to Plaintiff.

        62.    As a result, the defective condition of the Tranont Products caused Plaintiff’s

injuries.

                              SECOND CLAIM FOR RELIEF
   (Strict Liability for Manufacturing Defect, Violation of the Utah Product Liability Act,
                            Utah Code Ann. §§78B-6-701 to -707)

        63.    Plaintiff incorporates herein all preceding allegations set forth above.

        64.    Tranont, individually and acting through its employees, agents, and third parties

and in concert with each other, is liable to Plaintiff for violations of the Utah Product Liability Act.

        65.    Tranont manufactured, placed into the stream of commerce, distributed, and

promoted its Tranont Products to consumers across the country.

        66.    An ordinary buyer of Tranont Products would not expect Tranont Products to

contain dangerous levels of heavy metals.

        67.    The suggested intake of Tranont Products presented a dangerous level of heavy

metal consumption to consumers of Tranont Products.



                                                   7
Case 2:24-cv-00946-JCB          Document 1        Filed 12/18/24       PageID.8    Page 8 of 14




       68.     Tranont is under a continuous duty to keep abreast of scientific developments

touching upon the product and to notify its consumers of any potential dangers presented by using

Tranont Products.

       69.     Tranont is responsible for not only actual knowledge gained from research and

adverse reaction reports but also for constructive knowledge measured by third parties and other

available means of communications.

       70.     The deleterious side effects of Tranont Products experienced by Plaintiff, of which

Tranont was aware or should have been aware of through constructive knowledge, include but are

not limited to extreme fatigue, joint pain, headaches, muscle aches, fever, and hormonal

imbalances.

       71.     The adverse side effects experienced by Plaintiff after use of Tranont Products were

a direct result of the presence of heavy metals in Tranont Products.

       72.     The presence of heavy metals in the Tranont Products was a manufacturing defect.

       73.     The presence of heavy metals in the Tranont Products is unreasonably dangerous

and posed/poses a significant risk to consumers of Tranont Products.

       74.     The Tranont Products were unreasonably dangerous because an ordinary user of

health supplements would expect the products to be free of harmful heavy metals, such as lead

and/or mercury.

       75.     The Tranont Products were additionally dangerous because of the deleterious side

effects possible after the consumption of heavy metals.

       76.     The Tranont Products were unreasonably dangerous because the products were

different from how the manufacturer intended to make them, meaning the manufacturing process



                                                 8
Case 2:24-cv-00946-JCB           Document 1       Filed 12/18/24      PageID.9       Page 9 of 14




contaminated the Tranont Products with heavy metals unintentionally.

        77.    The manufacturing defect of heavy metals in the Tranont Products was present at

the time the product was sold to Plaintiff.

        78.    Plaintiff purchased Tranont Products from Tranont.

        79.    Plaintiff’s use of Tranont Products was the cause of injury to Plaintiff.

        80.    As a result, the defective condition of the Tranont Products caused Plaintiff’s

injuries.

                                  THIRD CLAIM FOR RELIEF
       (Strict Liability for Failure to Warn, Violation of the Utah Product Liability Act,
                              Utah Code Ann. §§78B-6-701 to -707)

        81.    Plaintiff incorporates herein all preceding allegations set forth above.

        82.    Tranont, individually and acting through their employees, agents, and third parties

and in concert with each other, are liable to Plaintiff for violations of the Utah Product Liability

Act.

        83.    Tranont manufactured, placed into the stream of commerce, distributed, and

promoted their Tranont Products to consumers across the country.

        84.    Tranont was put on notice of that lead and/or mercury was discovered in Tranont

 Products when ERC filed a complaint against them on December 12, 2022.

        85.    In any event, Tranont should have reasonably known that the Tranont Products

 contained dangerous levels of heavy metals prior to 2021.

        86.    Tranont refused to inform Plaintiff’s, sales associates, and consumers of this

discovery and continued to sell the Tranont Products to all those listed.

        87.    Due to Tranont’s improper marketing and advertising of the Tranont Products and



                                                 9
Case 2:24-cv-00946-JCB         Document 1        Filed 12/18/24        PageID.10   Page 10 of 14




the inadequacy of its warnings, the Tranont Products were and are unreasonably dangerous to an

extent beyond that which would be contemplated by the ordinary and prudent buyer, consumer, or

user of the Tranont Products in the community.

       88.     An ordinary buyer of Tranont Products would not expect Tranont Products to

contain dangerous levels of heavy metals.

       89.     The suggested intake of Tranont Products presented a dangerous level of heavy

metal consumption to consumers of Tranont Products.

       90.     Tranont is under a continuous duty to keep abreast of scientific developments

touching upon the product and to notify its consumers of any potential dangers presented by using

Tranont Products.

       91.     Tranont is responsible for not only actual knowledge gained from research and

adverse reaction reports but also for constructive knowledge measured by third parties and other

available means of communications.

       92.     The deleterious side effects of Tranont Products experienced by Plaintiff, of which

Tranont was aware or should have been aware of through constructive knowledge, include but are

not limited to extreme fatigue, joint pain, headaches, muscle aches, fever, and hormonal

imbalances.

       93.     The adverse side effects experienced by Plaintiff after use of Tranont Products were

a direct result of the presence of heavy metals in Tranont Products.

       94.     The presence of heavy metals in the Tranont Products is unreasonably dangerous

and posed/poses a significant risk to consumers of Tranont Products.

       95.     The Tranont Products were unreasonably dangerous because an ordinary user of



                                                 10
Case 2:24-cv-00946-JCB         Document 1        Filed 12/18/24      PageID.11       Page 11 of 14




health supplements would expect the products to be free of harmful heavy metals, such as lead

and/or mercury.

        96.    The Tranont Products were additionally dangerous because of the deleterious side

effects possible after the consumption of heavy metals.

        97.    Tranont failed to provide adequate warnings regarding the presence of lead and/or

mercury in Tranont Products, despite knowing or having reason to know of the hazards.

        98.    Tranont’s lack of an adequate warning made the Tranont Products defective and

unreasonably dangerous.

        99.    Health supplements, such as the Tranont Products, do not and should not contain

life-altering heavy metals, and therefore, are not a foreseeable risk. A warning that the products

contained lead and/or mercury could have prevented the foreseeable risks associated with ingesting

such heavy metals.

        100.   Tranont’s lack of an adequate warning was the cause of the Plaintiff’s injuries.

                               FOURTH CLAIM FOR RELIEF
                                      (Negligence)

        101.   Plaintiff incorporates herein all the preceding allegations set forth above.

        102.   Tranont owed Plaintiff a duty of care as sales associates and consumers of the

Tranont Products, because Tranont sold and directed them to consume products that should have

been free of toxins or heavy metals.

        103.   Tranont owed Plaintiff a duty and breached that duty, which caused damages to

Plaintiff.

        104.   Tranont must use ordinary care in warning foreseeable end users about potentially

dangerous products that are known or should be known to them and are not readily apparent to end


                                                11
Case 2:24-cv-00946-JCB           Document 1       Filed 12/18/24       PageID.12       Page 12 of 14




users.

         105.   Tranont owed Plaintiff a duty because injury to Plaintiff was reasonably foreseeable

based on Tranont’s conduct, as were the injuries suffered.

         106.   Tranont further has a duty to exercise reasonable care in the design, manufacture,

marketing, and distribution of the Tranont Products.

         107.   Tranont breached its duty of care to Plaintiff when the Tranont Products were not

free of toxins and contained heavy metals, such as lead and/or mercury.

         108.   Reasonably prudent wholesale distributors would have recognized the risk of heavy

metals within the Tranont Products and issued warnings and/or taken protective measures to ensure

consumers of the Tranont Product were not injured.

         109.   On information and belief, Tranont was operating under a GMP certification

obtained before significant formula changes and the dismissal of formulators. The company failed

to test the Tranont Products for safety, altered ingredients and sourcing to cut costs, and attempted

to cover up the problems while denying their existence.

         110.   All of these acts and omissions caused injury to Plaintiff which injury was

reasonably foreseeable and preventable.

         111.   Tranont was in the best position to prevent the injuries caused to Plaintiff due to its

advanced knowledge of the manufacture, distribution, and creation of the Tranont Products.

         112.   Tranont Products and Tranont’s acts and omissions were the actual and proximate

cause of Plaintiff’s injuries.

         113.   Plaintiff has suffered extensive physical and financial injuries.




                                                  12
Case 2:24-cv-00946-JCB          Document 1        Filed 12/18/24      PageID.13       Page 13 of 14




                                  FIFTH CLAIM FOR RELIEF
                         (Breach of Implied Warranty of Merchantability,
                            Violation of Utah Code Ann. §§70A-2-314)

        114.    Plaintiff incorporates herein all the preceding allegations set forth above.

        115.    “[A] warranty that goods shall be merchantable is implied in contract for their sale

if the seller is a merchant with respect to goods of that kind.” Utah Code Ann. § 70A-2-314(1).

        116.    Tranont markets itself as a leading producer of products that “helps support healthy

digestion, nutrient absorption, and overall wellness[.]”

        117.    Tranont marketed and sold Tranont Products advertising the health and wellness

benefits to Plaintiff.

        118.    Plaintiff relied on Tranont’s representations regarding the quality and uses of

Tranont Products and purchased Tranont Products for uses consistent with those for which Tranont

marketed Tranont Products. When Plaintiff used Tranont Products as directed, each suffered

significant health conditions directly attributable to Tranont Products.

        119.    The Tranont Products were not fit for the ordinary purpose for which such goods

are used. Instead of increasing health benefits as promised by the products, Plaintiff suffered

significant health decline because the products contained harmful substances inconsistent with the

ordinary purpose for which such goods are used.

        120.    It was reasonably foreseeable to Tranont that Plaintiff would use Tranont Products

in the manner they did.

        121.    As a direct and proximate result of Tranont Products, Plaintiff has incurred and

continue to incur damages including, but not limited to, the medical expenses of Plaintiff and future

medical expenses.



                                                 13
Case 2:24-cv-00946-JCB       Document 1       Filed 12/18/24         PageID.14   Page 14 of 14




                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment and other relief against Defendant as follows:

      A.     Compensatory damages in an amount to be proven at trial.

      B.     Consequential damages in an amount to be proven at trial.

      C.     Punitive damages in an amount to be proven at trial.

      D.     Attorneys’ fees and costs incurred in bringing this action.

      E.     Pre- and post-judgment interest in an amount to be determined by the Court.

      F.     Other amounts of damage that is reasonable and necessary under the circumstances.

      DATED: December 18, 2024.
                                           PARR BROWN GEE & LOVELESS, PC

                                           /s/Jonathan O. Hafen
                                           Jonathan O. Hafen
                                           Attorneys for Plaintiff

                                           KUNZLER BEAN & ADAMSON, PC

                                           /s/R. Jeremy Adamson
                                           R. Jeremy Adamson
                                           Attorneys for Plaintiff




                                              14
